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                          Exhibit 4
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Velvel (Devin) Freedman

From:                               Zalman Kass <zkass@riveromestre.com>
Sent:                               Wednesday, February 6, 2019 12:40 PM
To:                                 Velvel (Devin) Freedman; Zaharah Markoe; Amanda McGovern
Cc:                                 Kyle Roche; Andres Rivero
Subject:                            RE: First set of RFP -- Post Meet and Confer


Vel,

The following response summary tracks the numbered document requests in plaintiffs’ first request for
documents. Our responses are in light blue.

       1. Objections withdrawn
               a. Correct, as to the scope of the request. Dr. Wright maintains his remaining objections. Further,
                   Plaintiffs agreed to produce the same category of documents to Dr. Wright.
       2. Objections withdrawn
               a. Correct, as to the scope. Dr. Wright maintains his remaining objections.
       3. Objections withdrawn
               a. Correct, as to the scope. Dr. Wright maintains his remaining objections.
       4. Defendant proposed to produce all documents that David Kleiman was cc’d on. Plaintiffs disagreed with
           this modification. Marked for hearing.
               a. Partially correct. Dr. Wright agrees to produce those documents as they relate to the final version
                   of the bitcoin whitepaper, not drafts.
       5. Objections withdrawn except as to the proposed end date where Defendant insists discovery cut off on
           either 2/14/18 or a short window thereafter. Marked for hearing.
               a. Correct. Plaintiffs’ insistence on a continually moving end date is unworkable because it will
                   capture attorney work product and attorney client communications (and require Defendant to
                   continually update and send privilege logs). In an attempt to capture any documents that may
                   have been created by Dr. Wright as an initial response to the lawsuit, Dr. Wright offered to
                   expand the timeframe to include documents created 30-60 days after Plaintiffs filed the
                   complaint. Plaintiffs refused that modification.
       6. Defendant will withdraw objections to start date of 2006. But maintains the balance of his objections.
           Plaintiff has requested a marriage certificate to support the assertion of spousal privilege, but Defendant
           has refused to provide one. Marked for hearing.
               a. Correct as to the timeframe. Plaintiffs will produce documents sufficient to demonstrate that Dr.
                   Wright is, in fact, married to his wife.
       7. Defendant withdrew objection to start date of 2006. But maintains objections as to end date. Marked for
           hearing.
               a. Correct. See response to #five above.
       8. Defendant maintains his objections. Will only produce documents and communications of trusts that
           Defendant was a trustee or beneficiary, dated between 1/1/11-2/14/18, and that contemplated David
           Kleiman or W&K. Marked for hearing.
               a. Dr. Wright stands by his response to Plaintiffs’ first request for production.
       9. Defendant maintains its objections. Will not produce any documents. Marked for hearing.
               a. Dr. Wright stands by his response to Plaintiffs’ first request for production.
       10. Objections withdrawn.

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        a. Correct. Dr. Wright will produce that document (to the extent that he has any in his possession or
             control).
11. Defendant maintains his objections. He cannot know what “trust” or “trusts” are referred to in the
    communication. He will not produce any responsive documents. Marked for hearing.
        a. Dr. Wright stands by his response to Plaintiffs’ first request for production.
             Plaintiffs are asking Dr. Wright to interpret select words taken out of context from a document
             drafted by Dave Kleiman. Plaintiffs refused to clarify or simplify their request.
12. Defendant maintains his objections. He cannot know what “company” is referred to in the
    communication. He will not produce any responsive documents.
        a. Dr. Wright stands by his response to Plaintiffs’ first request for production.
             Plaintiffs are asking Dr. Wright to interpret select words taken out of context from a document
             drafted by Dave Kleiman. Plaintiffs refused to clarify or simplify their request.
13. Defendant maintains his objections. He will only produce documents that are related to a “person” or
    trust in the Seychelles that contemplated David Kleiman or W&K and is dated between 1/1/11 and
    2/14/18.
        a. Plaintiff would agree to edit the RFP so it now reads:
               i.   All documents and communications concerning any person, trust, or fund (as defined
                    herein) that is related to both the Defendant and Seychelles.
   b. This purported “modification” does not narrow the scope of Plaintiffs’ request. It simply swaps out
      “you” for “Defendant” and “associated” with “related.” This does not address Dr. Wright’s
      overbreadth concerns, and Dr. Wright stands by his response to Plaintiffs’ first request for
      production.

14. Defendant maintains his objections. He will only produce documents relevant to David Kleiman and
    W&K that are dated between 3/12/2008 and 2/14/18.
       a. Plaintiff would agree to edit the RFP so it now reads:
               i. All documents and communications relating to Design by Human Ltd., see e.g., D.E. 83-
                  15 (Exhibit 15 to Second Amended Complaint (“SAC”) (showing Design by Human
                  holds a trust of over 650,000 bitcoins that were to be held in trust “until . . . group
                  company formed with Dave K and CSW”)
   b. The summary improperly explains defendant’s objection. The objection is overbreadth because it
      asks for ALL documents and ALL communications relating to a non-party. If the request is properly
      tailored to relate to those exhibits, defendant does not object.

15. Defendants maintains his objections He will only produce documents relevant to David Kleiman and
    W&K that are dated between 3/12/08 through 2/14/18.
       a. Plaintiff would agree to edit the RFP so it now reads:
               i. All communications that occurred between January 1, 2007 and the present, between you
                    and Uyen Nguyen, the individual identified as a “powerful figure in the trust” (SAC Ex. 1
                    at 37), who was also a signatory to Design by Human’s “Deed of Loan” document
                    purporting to hold over 650,000 bitcoins in trust for Craig and Dave (SAC Ex. 15), who
                    became a director of key companies related to Dave, Craig and Bitcoin (id.), who assisted
                    Craig’s theft of W&K’s assets (SAC ¶¶138-39), who helped mislead Ira (see DE 50-1 at
                    ¶ 13(a)), and over whom Andrew O’Hagan wrote that it was “unclear how such a young
                    and inexperienced person came to have so much influence” (SAC Ex. 1 at 37).

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            b. This purported “modification” does not narrow the scope of Plaintiffs’ request. It simply makes
               reference to select exhibits but does not limit the request to documents relating to those exhibits.
               This does not address Dr. Wright’s overbreadth and irrelevance concerns, and Dr. Wright stands
               by his response to Plaintiffs’ first request for production.

    16. Defendant maintains his objections. He will not produce any documents.
           a. Plaintiff would agree to edit the RFP so it now reads:
                    i. All communications between you and Ross Ulbricht that occurred between January 1,
                       2010 and January 1, 2014 which concern Bitcoin transactions or Dave Kleiman (See DE
                       83-1, at 49, 52-53). For purposes of this interrogatory any communications with “Dread
                       Pirate Roberts” should be considered communications with Ross Ulbricht.
            b. This purported “modification” does not make the request relevant to Plaintiffs’ lawsuit. Any
               communications between Ross Ulbricht and Dr. Wright regarding bitcoin (to the extent they
               exist) simply have no relevance to Plaintiffs’ allegations that Dr. Wright stole unidentified
               bitcoin and intellectual property from Dave Kleiman. Further, any communications regarding
               Dave Kleiman is overbroad and irrelevance because Plaintiff has not limited those requests to its
               claims, i.e., bitcoin or intellectual property. For those reasons, Dr. Wright stands by his response
               to Plaintiffs’ first request for production.


From: Velvel (Devin) Freedman <vfreedman@bsfllp.com>
Sent: Friday, February 01, 2019 1:54 AM
To: Zaharah Markoe <zmarkoe@riveromestre.com>; Amanda McGovern <amcgovern@riveromestre.com>; Zalman Kass
<zkass@riveromestre.com>
Cc: Kyle Roche <kroche@bsfllp.com>
Subject: First set of RFP ‐‐ Post Meet and Confer

Amanda/Zaharah/Zalman,

Thanks for the meet and confer over your discovery objections. Below are my notes in re what I understand the
parties’ positions to be on the various requests. Please let me know if I’ve misunderstood your position.

Kyle and I have spent time considering how we might reach a compromise on some of these requests. Without
prejudice to our rights, we are willing to modify RFP ## 13-16 as detailed below. We hope this helps narrow the
disputes that we will need to take before Judge Reinhart.

That said, based on the 2.5+ hours of meeting and conferring we’ve undertaken since you objected to our
discovery responses, we know that there are discovery issues in dispute that the Court will need to resolve.
Consequently, pursuant to DE 22, please provide us with all the afternoons in the following seven business days
when you are available to attend a hearing to resolve these issues. We believe an hour of time should suffice.
Let us know if you agree?

----Status of Plaintiff’s First Set of RFP----

    1.   Objections withdrawn
    2.   Objections withdrawn
    3.   Objections withdrawn
    4.   Defendant proposed to produce all documents that David Kleiman was cc’d on. Plaintiffs disagreed with
         this modification. Marked for hearing.
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5. Objections withdrawn except as to the proposed end date where Defendant insists discovery cut off on
    either 2/14/18 or a short window thereafter. Marked for hearing.
6. Defendant will withdraw objections to start date of 2006. But maintains the balance of his objections.
    Plaintiff has requested a marriage certificate to support the assertion of spousal privilege, but Defendant
    has refused to provide one. Marked for hearing.
7. Defendant withdrew objection to start date of 2006. But maintains objections as to end date. Marked for
    hearing.
8. Defendant maintains his objections. Will only produce documents and communications of trusts that
    Defendant was a trustee or beneficiary, dated between 1/1/11-2/14/18, and that contemplated David
    Kleiman or W&K. Marked for hearing.
9. Defendant maintains its objections. Will not produce any documents. Marked for hearing.
10. Objections withdrawn.
11. Defendant maintains his objections. He cannot know what “trust” or “trusts” are referred to in the
    communication. He will not produce any responsive documents. Marked for hearing.
12. Defendant maintains his objections. He cannot know what “company” is referred to in the
    communication. He will not produce any responsive documents.
13. Defendant maintains his objections. He will only produce documents that are related to a “person” or
    trust in the Seychelles that contemplated David Kleiman or W&K and is dated between 1/1/11 and
    2/14/18.
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                i.   All documents and communications concerning any person, trust, or fund (as defined
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       a. Plaintiff would agree to edit the RFP so it now reads:
                i. All documents and communications relating to Design by Human Ltd., see e.g., D.E. 83-
                   15 (Exhibit 15 to Second Amended Complaint (“SAC”) (showing Design by Human
                   holds a trust of over 650,000 bitcoins that were to be held in trust “until . . . group
                   company formed with Dave K and CSW”)
15. Defendants maintains his objections He will only produce documents relevant to David Kleiman and
    W&K that are dated between 3/12/08 through 2/14/18.
       a. Plaintiff would agree to edit the RFP so it now reads:
                i. All communications that occurred between January 1, 2007 and the present, between you
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                     at 37), who was also a signatory to Design by Human’s “Deed of Loan” document
                     purporting to hold over 650,000 bitcoins in trust for Craig and Dave (SAC Ex. 15), who
                     became a director of key companies related to Dave, Craig and Bitcoin (id.), who assisted
                     Craig’s theft of W&K’s assets (SAC ¶¶138-39), who helped mislead Ira (see DE 50-1 at
                     ¶ 13(a)), and over whom Andrew O’Hagan wrote that it was “unclear how such a young
                     and inexperienced person came to have so much influence” (SAC Ex. 1 at 37).
16. Defendant maintains his objections. He will not produce any documents.
       a. Plaintiff would agree to edit the RFP so it now reads:
                i. All communications between you and Ross Ulbricht that occurred between January 1,
                   2010 and January 1, 2014 which concern Bitcoin transactions or Dave Kleiman (See DE

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                                 83-1, at 49, 52-53). For purposes of this interrogatory any communications with “Dread
                                 Pirate Roberts” should be considered communications with Ross Ulbricht.

Velvel (Devin) Freedman
Counsel

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